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                                                                      7 IN CHAMBERS

                                                                          U.S.D.C. Atlanta
                                                                         NOV 1 9 2019
                                                                   JAMES N HATTEN, Clerk

                IN THE UNITED STATES DISTRICT COURT                8y:   1Lw~~
               FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


                                           Criminal Indictment
       UNITED STATES OF
       AMERICA                             No.1019Cp                         469
       HITESH HARJI
        A/K/A “JOHNNY,”
        A/K/A “TISSUEMAN”




    The Grand Jury charges that:

                         Counts One through Eight
                                Wire Fraud
                             (18 U.S.C. § 1343)

                                 Background
       1. The Supplemental Nutrition Assistance Program (“SNAP”) is a

    program administered by the United States Department of
    Agriculture (“USDA”) through the Food and Nutrition Service

    (“FNS”). SNAP’s purpose is to alleviate hunger and malnutrition
    among low-income families by providing food stamp benefits. These

    food stamp benefits are provided to recipients through Electronic
    Benefit Transfer (“EBT”) cards, which are similar to debit cards.

    Recipients use EBT cards to purchase eligible food items at approved
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retail stores and the amount of the purchase is then debited from that
recipient’s SNAP account.

   2. Individuals seeking to participate in SNAP must apply with the
Georgia Department of Human Services or the Georgia Department of
Family and Children Services. An individual’s eligibility for food

stamp benefits is determined by citizenship, income, and household
size.

   3. Retail stores seeking to participate in SNAP must apply with the
FNS. SNAP retail store applicants are instructed and warned that

EBT cards can be accepted only in connection with the sale of eligible
food items. Participating retail stores are prohibited by law from

exchanging cash for food stamp benefits.
   4. Retail stores authorizedto participate in SNAP are given a
numerical identifier, referred to as an FNS Number, which is intended

to be unique to a retail store. To process EBT transactions, retail

stores use an EBT point-of sale card reader device, also referred to as
an EBT terminal. Each EBT terminal is configured to be associated

with an FNS Number.

   5. In a typical EBT card transaction, the food stamp benefits
recipient provides her EBT card to the retail store cashier, who

processes the agreed-upon payment amount through an EBT
terminal. The recipient must then enter her personal identification
number into a keypad and the sale is authorized if the recipient’s



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SNAP account has sufficient funds available. If the sale is authorized,
the funds from the recipient’s account are electronically transferred to

the retail store’s bank account via Automated Clearing House
transfers.

                  Scheme and Artifice to Defraud
   6. From at least in or about November 2016, until at least in or
about September 2019, in the Northern District of Georgia and
elsewhere, the defendant, Hitesh Harji, a/k/a “Johnny,” a/k/a

“Tissueman,” aided and abetted by others unknown to the Grand

Jury, devised ~nd intended to devise a scheme and artifice to defraud
the USDA and to obtain money and property from the USDA by

means of materially false and fraudulent pretenses, representations,
and promises, knowing and having reason to know that the pretenses,
representations, and promises were and would be material, and

caused wire communications to be transmitted in interstate commerce

in furtherance of the scheme.
   7. Defendant Hitesh Harji, a/k/a “Johnny,” a/k/a “Tissueman,” and

others unknown obtained EBT terminals and illegally executed
transactions using those EBT terminals, providing cash to food stamp
recipients in exchange for EBT card payments. No eligible food items

were sold in connection with the transactions. These illegal

transactions were not one-to-one exchanges through which a food
stamp recipient received the exact amount charged to her EBT card.



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In most instances, Harji and others unknown retained approximately
fifty percent of the EBT card payment and the food stamp recipient
would receive the other fifty percent.
                         Manner and Means
   8. Hitesh Harji, a/k/a “Johnny,” a/k/a “Tissueman,” and others
unknown obtained EBT terminals that were associated with FNS
Numbers belonging to retail stores authorized to participate in SNAP.

EBT transactions executed on these EBT terminals would appear to
FNS as having been executed by the retail store holding the FNS

Number, when, in fact, the fransactions were being executed by Harji
and others unknown, not individuals working at the retail stores
authorized to participate in SNAP.

   9. Hitesh Harji, a/k/a “Johnny,” a/k/a “Tissueman,” purported to
operate a home toilet paper delivery service. Harji would advertise
the service on fliers that listed his phone number.

   10. Hitesh Harji, a/k/a “Johnny,” a/k/a “Tissueman,” traveled
throughout meti~o-Atlanta by vehicle meeting food stamp recipients

and illegally exchanging cash for EBT card payments. In some
instances, Harji had an EBT terminal with him and executed the
transaction. In other instances, Harji used a cellular phone to call

another unknown individual to execute the transaction on an EBT

terminal at another location.




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   11. On or about the dates set forth in the following table, in the
Northern District of Georgia and elsewhere, Hitesh Harji, a/k/a

“Johnny,” a/k/a “Tissueman,” aided and abetted by others unknown to

the Grand Jury, having knowingly devised the aforesaid scheme and
artifice to defraud, and for obtaining money and property by means of
materially false and fraudulent pretenses, representations, and

promises, for the purpose of executing and attempting to execute the
same, with intent to defraud did cause the following wire
communications to be transmitted in interstate commerce:

 Count           Date                    Wire Communication
                            EBT card transaction using EBT terminal
    1          1/31/20 17   48565002 in the amount of $199.93 with EBT
                            card ending in 4667.
           ~                EBT card transaction using EBT terminal
    2          1/31/20 17   48565002 in the amount of $199.62 with EBT
                            card ending 4667.
                            EBT card transaction using EBT terminal
    3      4/20/2017        48565002 in the amount of $199.31 with EBT
                            card ending in 3387.
                            EBT card transaction using EBT terminal
    4      4/20/2017        48565002 in the amount of $99.99 with EBT
                            card ending in 4659.
                            EBT card transaction using EBT terminal
    5          5/16/2017    48565002 in the amount of $199.98 with EBT
                            card ending in 4667.
                            EBT transaction using EBT terminal
    6          6/6/2017     48565002 in the amount of $197.33 with EBT
                            card ending in 3387.
                            EBT transaction using EBT terminal
    7          6/6/2017     48565002 in the amount of $249.83 with EBT
                            card ending in 1586.


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 Count        Date                    Wire Communication
                         EBT transaction using EBT terminal
    8        6/6/2017    48565002 in the amount of $149.99 with EBT
                         card ending in 1586
   All in violation of Title 18, United States Code, Section 1343 and
Section 2.
                              Forfeiture

   12. As a result of committing an offense alleged in Counts One
through Eight of this Indictment, defendant Hitesh Harji, a/k/a
“Johnny,” a/k/a “Tissueman,” shall forfeit to the United States of

America, pursuant to 18 U.S.C.       §   981(a)(1)(C) and 28 U.S.C.. § 2461(c),

any property, real or personal, constituting or derived from proceeds
of the offenses, including, but not limited to, a money judgment, that

is, a sum of money equal to the proceeds of the offenses.
   13. If, as a result of any act or omission of the defendant, Hitesh
Harji, a/k/a “Johnny,” a/k/a “Tissueman,” any property subject to

forfeiture: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third person; has been
placed beyond the jurisdiction of the Court; has been substantially

diminished in value; or has been commingled with other property
which cannot be subdivided without difficulty, the United States

intends, pursuant to 21 U.S.C.   §       853(p), as incorporated by 18 U.S.C.   §




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981(b)Q) and 28 U.S.C.   §   2461(c), to seek forfeiture of any other
property of such defendant up to the value of the forfeitable property.




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